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Exhibit B

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
Tn re: ) Chapter 11
)
ENERGY FUTURE HOLDINGS CORP.,, et al.,' ) Case No. 14-10979 (CSS)
)
Debtors. } Gointly Administered)
)

ORDER AUTHORIZING THE DEBTORS
TO EXECUTE THE 401(K) PLAN SEPARATION

Upon the motion (the “Motion”)? of the above-captioned debtors and debtors in
possession (collectively, the “Debtors”), for entry of an order (this “Order’”), authorizing the
401(k) Plan Separation, all as more fully set forth in the Motion and the Kirby Declaration; and
the Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
1334; and the Court having found that this is a core proceeding pursuant to 28 U.S.C.
§ 157(b)(2); and the Court having found that venue of this case and the Motion in this district is
proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief
requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and other
parties in interest; and the Court having found that the Debtors provided appropriate notice of the
Motion and the opportunity for a hearing on the Motion under the circumstances; and the Court
having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing, if any, before the Court (the “Hearing”); and the Court having determined

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the

debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201, Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the debtors’ claims and noticing agent at http://www.elhcaseinfo.com.

Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for
the relief granted herein; and upon all of the proceedings had before the Court; and after due
deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

1. The Motion is granted as set forth herein.

2. The 401{k) Plan Separation is hereby approved——_provided_ however, that nothing

in_this Order shall effect any obligation of Oncor to reimburse the Debtors for the costs of

Notwithstanding the relief.

such relief (including the payment of any Debtor of the costs of administering 401(k) benefits on

behalf of Oncor employees but excluding amounts that the Debtors may owe to Fidelity. in

another Debtor or affiliated non-Debtor or any disputes with respect to administrative expense

priority for any claims arising pursuant to the 401(k) Plan.

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| 3:4,___The Debtors are authorized to enter into, perform, execute, and deliver all
documents, and take all actions, necessary to immediately continue and fully implement the
401(k) Plan Separation, all of which are hereby approved.

| 4.5, Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,
and 9014 or otherwise, the terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.

| 3-6, The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Wilmington, Delaware
Dated: , 2014

THE HONORABLE CHRISTOPHER 8. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

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